
56 N.Y.2d 621 (1982)
Carl Steigerwald, Respondent,
v.
Dean Witter Reynolds, Inc., et al., Appellants.
Court of Appeals of the State of New York.
Decided April 6, 1982.
Robert A. Small for appellants.
S. Paul Battaglia for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [b]), order affirmed, with costs. The application to the New York Stock Exchange (Form U-4) signed with a former employer does not bind plaintiff to arbitrate claims with respect to his subsequent alleged contract with defendants.
